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Magistrate Judge Brian A. Tsuchida

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO. MJ20-041
Plaintiff, | COMPLAINT for VIOLATION
y Title 21, U.S.C., Sections 841(a)(1) and
‘ (b)(1)(C), and Title 18, U.S.C., Sections
MICHAEL JOHN SCOTT, 922(g)(1), 924(a)(2), and 2
Defendant.

 

 

BEFORE BRIAN A. TSUCHIDA, United States Magistrate Judge, United States
Courthouse, Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
Possession of Controlled Substances With Intent to Distribute

On or about January 30, 2020, at Whatcom County, within the Western District of

Washington, MICHAEL JOHN SCOTT did knowingly possess, with the intent to

distribute, and aid and abet the possession of with the intent to distribute, substances

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controlled under Title 21, United States Code, Section 812, Schedules I and IL, to wit,
heroin and N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (Fentanyl).

All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C),
and Title 18, United States Code, Section 2.

COUNT 2
Felon in Possession of a Firearm

On or about January 30, 2020, at Snohomish County, within the Western District
of Washington, MICHAEL JOHN SCOTT, knowing that he had been convicted of the
following crime punishable by a term of imprisonment exceeding one year, to wit,
Conspiracy to Distribute Controlled Substances, on January 24, 2020, in the United
States District Court for the Western District of Washington, Case No. CR18-5579RBL,
did knowingly possess, in and affecting interstate and foreign commerce, a firearm, to
wit: a Colt Delta Elite 10mm semi-automatic pistol, bearing serial number DS42017,
which had been shipped and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

And the complainant states that this Complaint is based on the following
information:

I, Ryan C. Smith, being first duly sworn on oath, depose and say:

1. I am an “investigative or law enforcement officer of the United States”
within the meaning of Title 18, United States Code, Section 2510(7). Specifically, Tama
Special Agent with the Drug Enforcement Administration (“DEA”), assigned to the
Bellingham, Washington Resident Office. In that capacity, I investigate violations of the
Controlled Substances Act (Title 21, United States Code, Section 801, et seq.). I have
been employed as a Special Agent with the DEA since March 2017. Prior to becoming a
Special Agent, I was a detective in the Special Victims Unit, a police motorcycle officer,
and a police patrol officer with the Hoover Police Department in Hoover, Alabama. In

my experience as a law enforcement officer, I have participated in numerous narcotics
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investigations, during the course of which I have participated in physical surveillance and
executions of search warrants.

2. I have completed the DEA Basic Agent Training Course as well as other
training courses related to gangs and narcotics trafficking. I have participated in
narcotics investigations at both the local and federal level, and I have participated in the
execution of federal search warrants. As a result, I have become familiar with methods
of operation of drug traffickers and organizations. As a Special Agent with the DEA, I
have the responsibility of working with other federal and state law enforcement officers
in investigations of violations of federal and state controlled substance laws, including
the investigation of violations related to cocaine, methylenedioxymethamphetamine
(MDMA), methamphetamine, heroin, fentanyl, marijuana and other dangerous drugs.

3. I have participated in the debriefing of defendants, witnesses, and
informants, during which time I have discussed with them their methods of drug
smuggling, distribution, packaging, trafficking, avoiding law enforcement, and
laundering proceeds, among other concerns related to drug trafficking. I have discussed
and learned from other law enforcement investigators in regards to these matters as well.

4. Based on my training, experience, and conversations with other
experienced narcotics investigators, I have gained insight into the techniques and
methods used by drug traffickers to distribute controlled substances, their use of cellular
phones and other electronic communication telephones to facilitate their trafficking
activity, and the methods used to conceal and launder the proceeds of said activity.

The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. My specialized
training and experience in drug investigations form a basis for my opinions and
conclusions, which I drew from the facts set forth herein.

5. Imake this affidavit with the belief that there is probable cause to believe
MICHAEL JOHN SCOTT has committed the crimes of Possession of Controlled
Substances With Intent to Distribute, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C)

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and 18 U.S.C. § 2, and Felon in Possession of a Firearm, in violation of 18 U.S.C.
§§ 922(g)(1) and 924(a)(2). This affidavit does not set forth every fact known to me
concerning MICHAEL JOHN SCOTT, but only those I believe are necessary for a fair
determination of probable cause.

6. ._ Imake this Affidavit based upon personal knowledge derived from my
participation in this investigation and upon information I believe to be reliable from the
following sources:

a. My training and experience investigating drug trafficking and related
criminal activity, as described above;

b. Oral and written reports and documents about this and other
investigations that I have received from agents of the DEA and the Whatcom County
Sherriff’s Office (WCSO), and other federal, state and local law enforcement agencies;

c. Physical surveillance conducted by the aforementioned agencies,
and other law enforcement agencies, that has been reported to me directly or indirectly;

d. Telephone toll records, pen register and trap and trace information,
and subscriber information;

e. Washington State Department of Licensing records;

f. Commercial Databases;

g. Public records;

h Publicly viewable information on social media websites (i.e.,

Facebook); and
i. Confidential sources/informants.

7. In the following paragraphs, I describe communications between various
individuals. Except where specifically indicated with quotation marks, the descriptions
are summaries of the conversations and are not meant to reflect the specific words or

language used.

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8. On December 6, 2018, MICHAEL JOHN SCOTT was arrested and charged
as one of dozens of members of a drug trafficking conspiracy as a result of a DEA
Tacoma investigation into a drug trafficking organization (DTO) referred to as the
CASTRO DTO. As part of the investigation into the CASTRO DTO, on December 3,
2018, United States Magistrate Judge Theresa L. Fricke authorized a federal search
warrant for SCOTT’s residence at 8024 150th Street Southeast, Snohomish, Washington.
During the December 2018 search of SCOTT’s residence, investigators found two gallon-
sized, one quart-sized, and two sandwich-sized empty Ziploc bags in the master bathroom
garbage can, and three fentanyl-laced imitation oxycodone pills on the bathroom floor.
Investigators also found a clear plastic bag containing a few more fentanyl-laced
imitation oxycodone pills in the master bedroom closet. The seized pills were consistent
in appearance with the fentanyl-laced pills distributed by the CASTRO DTO, i.e., small,
blue, and imprinted with “M” and “30.” Investigators found multiple tools of the trade
used by drug traffickers in the residence, including a blue, Capsuline-brand pill counter
(in a dresser drawer in the master bedroom) and two digital scales (in the master bedroom
closet). Investigators also seized 100 gross grams of suspected cocaine, 40 gross grams
of suspected MDMA, 9.35 net grams of 100% pure methamphetamine, 5,680 gross grams
of processed marijuana, and a total of $44,362 in cash, some of which was hidden inside
the walls of the residence.

9. After being advised of his Miranda rights, SCOTT admitted to agents that
he obtained fentanyl-laced imitation oxycodone pills and cocaine from the CASTRO
DTO for redistribution to others. On December 12, 2018, SCOTT was released to the
supervision of Pretrial Services.

10. On June 18, 2019, SCOTT pleaded guilty to Conspiracy to Distribute
Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846. In
his plea agreement, SCOTT admitted, among other things, that he was a high-volume
redistributor of cocaine and fentanyl-laced imitation oxycodone pills for the DTO; that

the $44,362 in cash seized from his residence constituted cash drug proceeds; and that the
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loose pills and empty Ziploc bags found in the master bathroom on December 6, 2018,
were there because he was flushing larger quantities of the pills down the toilet before
law enforcement officers could seize them.

11. On January 24, 2020, SCOTT appeared before the Honorable Ronald B.
Leighton, United States District Judge, for sentencing. The Court sentenced SCOTT to
78 months in custody, to be followed by four years of supervised release. SCOTT was
permitted to remain out of custody, subject to the supervision of Pretrial Services.

12. Two days prior to SCOTT’s sentencing (i.e., January 22, 2020), DEA
Bellingham received a tip from someone (who would later become a Whatcom County
CS) who told investigators s/he could obtain pills made with fentanyl. The CS then met
with investigators at the DEA Bellingham office and said that s/he could purchase pills
from an individual named Michael Scott, who lived in Snohomish County. The CS told
investigators that s/he had active warrants and wanted to work for judicial consideration
for those warrants. An NCIC check showed the CS has an active felony warrant for retail
theft and an active warrant for false reporting to law enforcement, both in Skagit County,
Washington. NCIC also showed that s/he has two felony theft charges, multiple gross
misdemeanor convictions for theft and criminal trespass, and multiple misdemeanor
convictions for driving while license suspended and bail jumping.

13. The CS told investigators that s/he knew Michael Scott through Scott’s
family. The CS identified MICHAEL JOHN SCOTT from a Washington DOL photo of
him. The CS said that SCOTT called him/her earlier in January 2020 to see if the CS
wanted any counterfeit M30’s or could sell counterfeit M30’s.! The CS stated SCOTT
told him/her that SCOTT was looking to get rid of 100, 200, or up to 1,000 pills; the CS
stated s/he was told the pills were made with fentanyl. The CS told investigators that s/he
told SCOTT that s/hie did not want any pills nor did s/he know anybod¥éfait wanted the

 

' The CS admitted to investigators that s/he previously purchased a single Vicodin from SCOTT.

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pills at that time. The CS stated that a few days after the phone conversation, s/he ran
into SCOTT at a retail store in Bellingham, Washington. The CS stated that at the retail
store SCOTT showed him/her a backpack that SCOTT had in his car and that backpack
contained multiple baggies of pills; the CS said the pills were both light and darker blue.
The CS stated s/he thought each baggie had 100 pills and that s/he thought there were
more than 1,000 pills in the backpack. The Cs said that SCOTT relayed that he heard the
M30’s in Bellingham were being sold for $40 a pill and that SCOTT wanted to sell his
M30’s for $20 a pill.

14. Investigators asked the CS if s/he knew where SCOTT lived. The CS said
yes, and that s/he had been to SCOTT’s residence as recently as December of 2019.
Investigators asked the CS if s/he could identify SCOTT’s residence using Google Maps.
Using Google Maps, the CS identified SCOTT’s residence as 8024 150th Street
Southeast, Snohomish, Washington. The CS provided SCOTT’s phone number as 425-
308-8815. The CS had SCOTT’s phone number stored in his/her phone under the contact
name “mickey.” Investigators discussed with the CS the possibility of having the CS
reach out to SCOTT to arrange for a controlled purchase of pills that would occur later
that same day (January 22, 2020). The CS stated that s/he had a prior immediate
obligation, but that s/he could return later that evening to be signed up as a CS with
Whatcom County and arrange for the controlled purchase.

15. After leaving the initial meeting with investigators, as described above,
investigators contacted the CS to see when s/he would return. The CS informed
investigators that s/he would return shortly. The CS also told investigators that s/he had a
text message conversation with SCOTT to arrange for the purchase of pills. Investigators
then told the CS that since s/he had not been signed up as a CS yet, s/he needed to stop
trying to make arrangements to purchase pills until investigators were present. Shortly .
thereafter, the CS returned to meet with investigators. During the second meeting, which
also occurred on January 22, 2020, the CS was signed up as a CS with Whatcom County.

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16. During this second meeting on January 22, 2020, the CS showed
investigators a text message conversation” between the CS and the phone contact listed as
“mickey,” whom, as previously noted, the CS identified as SCOTT. In those messages,
when the CS asked SCOTT if they could meet up, SCOTT replied affirmatively and
asked “how many” the CS needed. The CS responded, “500.”

17. At approximately 8:07 p.m., after Whatcom County investigators signed up
the CS, investigators directed the CS to send another message to SCOTT requesting the .
pills. The CS sent a text message and asked, “hey someone wants me to grab $500 worth
of those can i grab that.” Investigators had directed the CS to change the request from
500 pills to make it seem as if the CS had $500 to purchase pills. This was done to
ensure investigators could cover the cost of the pills in the event the CS had to conduct a
controlled purchase that evening. At approximately 8:16 p.m., after having not received
a response from SCOTT, investigators directed the CS to call SCOTT to arrange for the
controlled purchase of the fentanyl-laced imitation oxycodone pills (the M30’s).

18. The CS called SCOTT, and investigators listened to the conversation
between a male, whom the CS later identified as SCOTT, and the CS. This call was not
recorded. Upon answering the phone, SCOTT told the CS that s/he was “all over the
place,” and indicated that it was too late for SCOTT to meet the CS that evening. The CS
asked if SCOTT was available to meet tomorrow and SCOTT said that he could meet up;
no times were discussed. The CS also asked if s/he could drive to SCOTT to pick up the
pills. In reply, SCOTT said that his wife was on her way to SCOTT’s house and that he
would have to call his wife to see where she was. SCOTT then hung up the phone. After

waiting for SCOTT to call back, investigators then directed the CS to send a text message

 

* Investigators have reviewed the CS’s text messages discussed herein.

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you let me know its getting late.” At approximately 8:30 p.m., SCOTT replied and said,
“No”, “Tomorrow”, “I’m sorry”, and “Intold you at 430 when we were talking its 830.”

19. Later that evening, at the direction of investigators, the CS sent text
messages back to SCOTT and said, “k what time ru thinking so I can make sure I have
someone to watch my daughter”, and ““???? And he wants some dark [a coded reference
to heroin] did you have or just those blues if not its fine just let me know so I can let him
know whass up.” SCOTT did not respond that evening.

20. On January 23, 2020, the CS received a phone call from phone number
425-535-0965. After verifying with investigators that 425-535-0965 did not belong to
one of them, the CS told investigators that s/he thought it was SCOTT’s new phone
number. The CS also told investigators that s/he received a text message from the
number that said, “new line.” In reply, the CS said, “italion stallion,” and received a
response back that said, “yup.” The CS told investigators that SCOTT refers to himself
as the “Italian stallion.”

21. The CS later sent investigators a screen shot picture of two text messages
s/he received from SCOTT (425-535-0965) that said, “Hello” and “What’s up.” The CS
and SCOTT went on to exchange a series of text messages in which SCOTT discussed
the fact he just had received a 78-month sentence. SCOTT indicated that he would be in
the Bellingham, Washington, area the following day (January 25, 2020), and could meet
up with the CS then.

22, On January 25, 2020, the CS and SCOTT exchanged a series of text
messages. After speaking with the CS, investigators decided to again attempt to set up
the purchase of the M30 pills from SCOTT, this time on January 29, 2020. In the interim
(i.e., between January 25, and January 29, 2020), the CS and SCOTT continued to engage
in text messages. Notably, investigators had directed the CS to not discuss purchasing
pills with SCOTT except at their direction. From review of the text messages, the CS

appears to have followed investigators’ direction. There were several text messages

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received from SCOTT that seemed to indicate that SCOTT could not get in touch with
the CS during this time. .

23. On January 29, 2020, investigators met with the CS to set up the controlled
purchase with SCOTT. After reviewing the text message conversations described above,
investigators directed the CS to send SCOTT a message to see if SCOTT was available to
meet. The CS then had the following text message conversation with SCOTT (425-535-
0965):

CS: hey so i dont have a car can we meet up

SCOTT: What the fuck is up with you.

SCOTT: When

SCOTT: You drop off

SCOTT: You reaper are you smoked out or what

SCOTT: This is fucking cluck behavior

24. After the CS received the messages from SCOTT, SCOTT attempted to call
the CS. Investigators directed the CS to not answer the call at that time. A few minutes
later, at approximately 4:24 p.m., investigators directed the CS to call SCOTT to attempt
to set up a meeting to purchase the fentanyl-laced imitation M30’s. In this call, which
was recorded, SCOTT expressed his frustration with the CS (“This is like fucking cluck
behavior. I don’t understand. You say you are on your way down, you don’t show up. ...
You know what I’m saying? Like what the fuck you want me...you know? Then you
been sitting on my motherfucking money for a couple...for quite some time you know? I
don’t deal business this way.”). At the end of the call, SCOTT and the CS agreed that
perhaps they could meet up later that day (January 29, 2020) for the transaction.

25. On January 29, 2020, at approximately 5:52 p.m., the CS called SCOTT
and arranged to purchase the pills on Thursday, January 30, 2020. This phone call also
was recorded. In that call, SCOTT agreed he could meet the CS on January 30, 2020,
“mid-morning, early afternoon.” The CS told SCOTT s/he no longer had the money for

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500 pills, but had the money for 300 pills. SCOTT offered the CS a price of $15/pill,
which the CS agreed “would work.”

26. On January 30, 2020, the CS confirmed with SCOTT that they would be
meeting that day. Investigators established surveillance at SCOTT’s residence (8024
150th Street Southeast, Snohomish, Washington) and saw him leave at approximately
11:30 a.m. in his black BMW sedan (bearing Washington plate BMV0641).
Investigators followed SCOTT from his residence to a restaurant in Everett, Washington,
where he appeared to eat lunch, and then northbound on Interstate 5. At approximately
1:10 p.m., SCOTT called the CS and said he was on his way. They agreed SCOTT
would call again when he had passed Burlington, Washington, and he and the CS would
figure out where to meet.

27. At approximately 2:00 p.m., when SCOTT got into the Bellingham,
Washington area, a Whatcom County Sherriff’s office deputy conducted a traffic stop on
the black BMW sedan. SCOTT was the driver and sole occupant. During the traffic
stop, the deputy had SCOTT get out of the vehicle. A Whatcom County Sheriff's Office

{| narcotics canine was then deployed on the BMW and alerted to the presence of the odor

of narcotics emanating around the trunk of the vehicle. The Whatcom County deputy
then asked SCOTT if he could search the car. SCOTT declined to give consent to search.
28. Investigators directed the deputy to search SCOTT’s black BMW sedan.
During the search, investigators found approximately 9 baggies containing small, light
blue pills that investigators believe to be, based on training, experience, and the nature of
the investigation, imitation M30 pills laced with fentanyl. Investigators estimated each
baggie to contain approximately 100 pills and noted that they were packaged in a manner
consistent with redistribution. Investigators also found approximately a fist-size of a
dark-colored hard substance that they believe to be, based on training and experience,
heroin. The heroin weighs approximately 134 gross grams and later field-tested positive

for the presence of heroin. After the discovery of the drugs, SCOTT was placed under

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arrest. Investigators also found three bundles of cash, with each bundle appearing to
contain $100 bills, in the vehicle.

29, I then obtained federal search warrants for SCOTT’s residence (8024 150th
Street Southeast, Snohomish, Washington) and the black BMW (to conduct a more
thorough search), from the Honorable Brian A. Tsuchida, United States Magistrate Judge.

30. During the search of SCOTT’s residence (8024 150th Street Southeast,
Snohomish, Washington), investigators found 54 gross grams of methamphetamine
(field-tested with positive results), six blue “M30” pills, consistent in appearance with
what investigators believe to be fentanyl-laced imitation oxycodone pills, and multiple
bundles of cash consisting of $20 bills. |

31. InSCOTT’s nightstand drawer, investigators found a Colt Delta Elite
10mm semi-automatic pistol, bearing serial number DS42017. The magazine appeared to
be fully loaded with eight rounds, and was seated in the pistol; no round was chambered.
A search through law enforcement databases showed the Colt Delta Elite 10mm semi-
automatic pistol, bearing serial number DS42017 had been reported to law enforcement
as stolen (in Seattle/King County) on or about November 6, 2019.

32. [have determined that Colt firearms are not manufactured in the State of
Washington, and that therefore the Colt Delta Elite 10mm semi-automatic pistol, bearing
serial number DS42017, found in SCOTT’s nightstand had to have travelled in interstate

or foreign commerce prior to his possession of it on January 30, 2020.
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Based on the above facts, I respectfully submit that there is probable cause to
believe that MICHAEL JOHN SCOTT did knowingly and intentionally commit the
crimes of Possession of Controlled Substances With Intent to Distribute, in violation of
21 U.S.C. § 841(a)(1) and (b)(1)(C) and 18 U.S.C. § 2, and Felon in Possession of a
Firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

FO Qi

RYAN C. SMITH, Complainant
Special Agent, Drug Enforcement
Administration

 

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Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant
committed the offenses set forth in the Complaint.

Dated this _3! day of January, 2020.

BRIAN A. TSUCHIDA
United States Magistrate Judge

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